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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
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                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 23-cr-257-TSC
                                     :
v.                                   :
                                     :
DONALD J. TRUMP,                     :
                                     :
            Defendant.               :
____________________________________:

                     RESPONSE IN OPPOSITION TO
               GOVERNMENT’S PROPOSED TRIAL CALENDAR




                               Ex. A
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,    .
                              .
          Plaintiff,          .        CR No. 23-0257 (TSC)
                              .
     v.                       .
                              .
 DONALD J. TRUMP              .        Washington, D.C.
                              .        Friday, August 11, 2023
          Defendant.          .        10:00 a.m.
 . . . . . . . . . . . . . . ..


                     HEARING ON PROTECTIVE ORDER
               BEFORE THE HONORABLE TANYA S. CHUTKAN
                    UNITED STATES DISTRICT JUDGE


   APPEARANCES:

For the Government:               THOMAS WINDOM, ESQ.
                                  MOLLY G. GASTON, ESQ.
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                                  Washington, DC 20530


For Defendant:                    JOHN F. LAURO, ESQ.
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                                  Tampa, FL 33602

                                  TODD BLANCHE, ESQ.
                                  Blanche Law
                                  99 Wall Street
                                  New York, NY 10005

Court Reporter:                   BRYAN A. WAYNE, RPR, CRR
                                  U.S. Courthouse, Room 4704-A
                                  333 Constitution Avenue NW
                                  Washington, DC 20001


Proceedings reported by stenotype shorthand.
Transcript produced by computer-aided transcription.
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                           /s/ Bryan A. Wayne
